105 F.3d 649
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Darren J. CUSTIS, Defendant--Appellant.
    No. 96-6978.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 12, 1996.Decided Jan. 9, 1997.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.
      Darren J. Custis, Appellant Pro Se.
      Thomas Michael DiBiagio, OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.
      D.Md.
      APPEAL DISMISSED.
      Before WILKINS, WILLIAMS, and MICHAEL, Circuit Judges.
      Dismissed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Darren J. Custis seeks to appeal the district court's order denying his motion filed under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss the appeal on the reasoning of the district court.  United States v. Custis, Nos.  CR-91-334-S;  CA-96-1352-S (D.Md. May 30, 1996).  We deny Custis' motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    